Case 3:25-cv-00079-G-BW      Document 6     Filed 04/25/25    Page 1 of 2   PageID 16



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




JOHN FRANCIS,                               )
    #2253451,                               )
                                            )
             Plaintiff,                     )
                                            )            CIVIL ACTION NO.
VS.                                         )
                                            )            3:25-CV-0079-G-BW
JOHN DOE,                                   )
                                            )
             Defendant.                     )




       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed. After reviewing all relevant

matters of record in this case, including the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge for plain error, in accordance

with 28 U.S.C. § 636(b)(1), the court is of the opinion that the Findings and

Conclusions of the Magistrate Judge are correct, and they are accepted as the

Findings and Conclusions of the court. For the reasons stated in the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge, and by
Case 3:25-cv-00079-G-BW     Document 6     Filed 04/25/25      Page 2 of 2   PageID 17



separate judgment, the court will DISMISS the complaint, received on January 10,

2025 (docket entry 3), without prejudice for improper venue.

      SO ORDERED.

April 25, 2025.

                                      ___________________________________
                                      A. JOE FISH
                                      Senior United States District Judge




                                       -2-
